                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

 In Re:                                           Case No. 18-71373-BHL-13

 Larry R McCarty
                                                  Chapter 13
  aka Larry Ray McCarty

 Debtor(s).                                       Judge Basil H. Lorch III

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of U.S. Bank

Trust National Association as Trustee of Chalet Series III Trust, in the above captioned

proceedings.



                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  P.O. Box 476
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
                                CERTIFICATE OF SERVICE

I certify that on February 12, 2019, a copy of the foregoing Notice was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Lloyd Koehler, Debtor’s Counsel
       lloydkoehler@hotmail.com

       Robert P. Musgrave, Trustee
       chap13@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on February 12, 2019, a copy of the foregoing Notice was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Larry R McCarty, Debtor
       4808 North 1st Avenue
       Evansville, IN 47710

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
